                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                       No. 3:05CR400-FDW


UNITED STATES OF AMERICA,
                Plaintiff,

               v.

(12) MICHAEL ROBERT KEARNS,
                  Defendant.
_________________________________


                   ORDER DIRECTING CLERK TO
         HOLD DISTRIBUTION OF RESTITUTION PAYMENTS IN
 ABEYANCE AND DIRECTING CLERK TO RAISE DISBURSEMENT THRESHOLD

       A Motion has been brought before this Court for an Order Directing Clerk to Hold

Distribution of Restitution Payments in Abeyance and Directing Clerk to Raise Disbursement

Threshold. Subsequent to the filing of the Motion, the Government filed motions to amend

restitution in this case and related cases. Then, the Government filed notices of withdrawal of

motions to amend restitution. All such pleadings suggest that the Government is engaged in

reviewing complex restitution calculations in this and related cases and that the Government will

soon notify the Court on the record of any revised restitution calculations. Having considered

the Motion for an Order Directing Clerk to Hold Distribution of Restitution Payments in

Abeyance and Directing Clerk to Raise Disbursement Threshold and having reviewed the record,

this Court finds that disbursement of restitution payments should be held in abeyance pending

further order of this Court and that, for purposes of this case and those cases identified in the

Second Supplement to the Presentence Report against Defendant Kearns, the Clerk’s Office shall

hold and accumulate restitution payments, without distribution, until the amount accumulated is




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such that the minimum distribution to any restitution victim will be not less than $100.00.

         It is therefore ORDERED, ADJUDGED, AND DECREED that:

         1.    The Clerk of Court shall hold disbursement of restitution in abeyance pending

further order of this Court; and

         2.    When the Clerk of Court begins disbursing restitution payments in this case and

in the related cases identified in the Second Supplement to the Presentence Report, the Clerk

shall apply the $100 threshold set forth above; and

         3.    The United States shall serve a copy of this Order upon the Financial Deputy

Clerk.

         SO ORDERED.



                                                Signed: August 11, 2010




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